Case 1:17-cv-01147-WJ-LF Document 193 Filed 11/15/19 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
SETTLEMENT CONFERENCE BEFORE MAGISTRATE JUDGE LAURA FASHING

Caption: Rodriguez v. Serna et al
1:17-cv-01147-WJ-LF

Date & Time: Friday, November 15, 2019, 9:00 a.m.

 

 

Appearances for Plaintiffs: Appearances for Defendants:
Jason A. Marks “ Mark E. Komer MAL
Christina 1. E
—Erank-P—Weissbarth—

James P. Sullivan °P

 

 

Plaintiff(s) in Attendance: Defendant(s) in Attendance:
Annette Rodriguez Reyes de la Cruz LC

a p | ) “ Rick Bejarano @ ji
Others Attending:

x Case settled. Per order filed concurrently, closing documents due

on Dec, Ifo 2019.

Case did not settle.

Settlement efforts to be continued on at

xX Chama Courtroom; Time in Court= 4 hours
